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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,

 v.
                                                       Case No. 25-cv-381-ABJ
 RUSSELL VOUGHT, in his official capacity
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,
                        Defendants.


                     SECOND DECLARATION OF MATTHEW PFAFF

       I, Matthew Pfaff, declare as follows:

       1.      I am employed at the Consumer Financial Protection Bureau, where I currently

serve as the Chief of Staff for the Office of Consumer Response. I have been with the CFPB since

October 2013. The purpose of this second declaration is to supplement testimony provided in my

first declaration and whistleblower disclosure. ECF 38-7. The following is based on my personal

knowledge or information provided to me while performing my duties.

       2.      I have reviewed the Supplemental Declaration of Adam Martinez. ECM 47-1.

Consistent with his first declaration, Mr. Martinez’s statements are misleading, inaccurate, or both.

       3.      Mr. Martinez states that “[o]n February 27, 2025, the CFPB Chief Legal Officer

activated work related to compliance with the agency’s critical statutory responsibilities in the area

of the Office of Consumer Response. Thus, as of February 27, 2025, members of the Escalated

Case Management team, for example, are working.” ECF 47-1 at ¶ 8. The first sentence is

misleading. The second sentence is blatantly false.
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       4.      None of the activities listed in my original declaration, including responding to

escalated issues via the Escalated Case Management Team, are currently happening. ECF 38-7 at

¶¶ 12-26.

       5.      This is concerning. Many consumers are not receiving timely responses to their

complaints as required by 12 U.S.C. § 5534(a). And for those who face urgent situations—e.g., a

person who submits a complaint about losing their home to an imminent foreclosure—there is

simply no one at the CFPB to help.

       6.      Mr. Martinez suggests that he is guiding colleagues “through navigating the change

and seeking clarification where and when its needed.” ECF 47-1 at ¶ 4. As I explained in my prior

declaration, I drafted a memo that described key statutory work and teams most directly aligned

to these statutory obligations. ECF 38-7 at ¶ 10 and Ex. A. Mr. Martinez received that memo more

than two weeks ago. Id. at ¶ 10. As of the time of Mr. Martinez’s Supplemental Declaration, he has

not inquired about—or provided guidance on—this statutory work.

       7.      Mr. Martinez’s non-response is not limited to the consumer complaint function.

Indeed, I am aware of several inquiries to Mr. Martinez, requesting authorization to perform

statutorily authorized work, which have been ignored. On February 27, Mr. Martinez wrote to

certain CFPB executives—who all work outside of Consumer Response—that “statutorily

required work and/or work required by law are authorized” and “teams are authorized to continue

carrying out these responsibilities.” I am aware of at least two CFPB executives who sent requests

to Mr. Martinez following that email, seeking to activate staff to perform statutory work. Those

requests, however, have been ignored.

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       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true
and correct.



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Executed in Washington, DC this 2nd day of March, 2025.




                                          Matthew Pfaff




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